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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


BARBARA J. LEE, ET AL.,            )
                                   )
          Plaintiffs,              )
                                   )          CV No. 21-400
       vs.                         )          Washington, D.C.
                                   )          February 23, 2024
DONALD J. TRUMP, ET AL.,           )          1:30 p.m.
                                   )
          Defendants.              )
___________________________________)


     TRANSCRIPT OF JOINT STATUS CONFERENCE PROCEEDINGS
             BEFORE THE HONORABLE AMIT P. MEHTA
                UNITED STATES DISTRICT JUDGE

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1    defendant's response and whatever they are pursuing here.

2               Well, we don't have -- what we're looking for is

3    something analogous to if former President Trump were to be,

4    in fact, setting forth something like a complaint.          He lays

5    out what he's basically asserting as the basis, which is

6    something that I think he has to do at some point fairly

7    soon and not simply conduct a lot of third-party discovery,

8    and then nine months later figure out, well, I guess we need

9    more discovery.    That is a recipe for indefinite discovery.

10              So we really, again, emphasize the value of some

11   kind of description of the kind of evidence in which former

12   President Trump is going to rely, and a clear schedule and

13   pathway to get to summary judgment soon.

14              Thank you.

15              THE COURT:    Okay.

16              All right.    This has been a helpful discussion to

17   think through what I hope is a meaningful and efficient way

18   forward.

19              Here's what I think you all ought to do.

20   I'm going to give you two weeks to meet and confer and go

21   through the complaint and identify what facts can be

22   stipulated to, what facts are in dispute, and if there are

23   disputed facts, what discovery you think you need to

24   establish the facts that you wish to establish.

25              That's not in any way capping potential additional
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1    facts that are outside the complaint, but it's got to be a

2    starting point, because, as I said, I really -- and I

3    haven't really heard anybody say otherwise, there really

4    are, just as I said, three buckets of conduct:         It's

5    communications, the rally, and post-rally action or

6    inaction.    And, you know, at least one of that category, the

7    communications, it seems to me, ought not to require that

8    much discovery.

9                And, you know, the defense at some point will

10   either be prepared to say, yes, he tweeted this, or, no, he

11   didn't tweet it, where he was when he tweeted it, et cetera.

12               And maybe there's some third-party discovery

13   that's needed for the rally, but even that I'm not so sure,

14   given all the other information that's already out there.

15               So I think it would be productive if you all sort

16   of put your heads together and had a meaningful conversation

17   about what you can agree to, what you can't agree to, and

18   what's needed to -- in terms of discovery, to sort of hash

19   out those disagreements.

20               MR. WARRINGTON:   May I approach, Your Honor?

21               THE COURT:   Yeah, of course.

22               MR. WARRINGTON:   Based on what I just heard

23   Your Honor say, it seems to me that you're asking us to go

24   through the complaint and essentially admit or deny facts in

25   the complaint.    I think the Blassingame opinion from the
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1    Court of Appeals is very clear that this is not to go to any

2    of the merits of the case, this is solely to go to the

3    immunity question.

4              THE COURT:     Yes.

5              On the other hand, sometimes the line is going to

6    blur.

7              In other words, I mean, again, just take the

8    December 19th tweet, that is part of the immunity question

9    and it's also part of the merits.

10             And the questions that go to immunity may have

11   less to do with the merits, such as where the President was

12   when he sent the tweet, you know, et cetera.

13             But I don't see how we can avoid some overlap.

14   I mean, that's just -- that's inevitable.

15             MR. WARRINGTON:       I think we can avoid the overlap

16   if we're not engaging in an exercise that actually engages

17   in the merits, which this necessarily does.

18             THE COURT:     I'm not asking you to file an answer.

19   I'm asking you to get together to tell me what you can agree

20   to in terms of facts, stipulated facts based upon what's in

21   the complaint, what you can agree to, and what you need in

22   terms of discovery to establish the facts you want.

23             MR. WARRINGTON:       And, again, the second part of

24   that runs afoul of essentially laying out what the defense

25   would be in their criminal case.
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1              THE COURT:     Well, I'm not so sure I --

2              MR. WARRINGTON:     And also --

3              THE COURT:     I mean, I don't see that, at least not

4    in a way that is concrete; in other words, you haven't

5    spelled out what you mean.

6              I can see it being possible, but you haven't

7    spelled out how, for example, admitting to, you know, that

8    he sent a tweet and where he was when he sent a tweet or who

9    was in the room during a particular phone call or how that

10   in any way is going to impair the defense in the criminal

11   case.

12             MR. WARRINGTON:     Well, the first part of it,

13   admitting to the tweet, that's no different than filing an

14   answer on that contested fact, okay?

15             Or even if it's not a contested fact, it's no

16   different.

17             THE COURT:     I get it.

18             But you've said more than that.        You've said it

19   might impair the defense, and I'm not quite sure that's

20   necessarily -- it may be.

21             MR. WARRINGTON:     I was going to get to that.

22             THE COURT:     Yeah.

23             Look, I think this is what makes the most sense.

24             And you all ought to sort of sharpen your pencils,

25   figure out what the defense really is going to contest in
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                      C E R T I F I C A T E
                I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of
proceedings in the above-titled matter.




Date:__February 27, 2024___       ____________________________
                                  William P. Zaremba, RMR, CRR
